               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                          SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
                           Plaintiff,    )
                                         )
vs.                                      )   No. 21-05003-01-CR-SW-MDH
                                         )
WILLIAM D. JOHNSON,                      )
                                         )
                           Defendant.    )

                     MOTION TO WITHDRAW AS COUNSEL

       Comes now Michelle M. Law, Assistant Federal Public Defender, and hereby

moves the Court to enter an order allowing her to withdraw as counsel for Mr. Johnson.

The reasons for her motion are as follows:

       1.    On January 29, 2021, the Federal Public Defender’s Office for the Western

District of Missouri was appointed to represent Defendant.

       2.    On February 3, 2021, attorney Donald R. Cooley entered his appearance in

this case.

       WHEREFORE, for the reason stated herein, the undersigned counsel respectfully

requests this Court grant her leave to withdraw as counsel.

                                         Respectfully submitted,

                                         /s/ Michelle M. Law
                                         MICHELLE M. LAW, #45487
                                         Assistant Federal Public Defender
                                         901 St. Louis Street, Suite 801
                                         Springfield, Missouri 65806
                                         (417) 873-9022
February 4, 2021                         Attorney for Defendant
                            CERTIFICATE OF SERVICE

      I hereby certify that on this 4th day of February, 2021, I electronically filed the

foregoing document with the Clerk of the Court using the CM/ECF system, which sent e-

mail notification of such filing to all CM/ECF participants in this case, and a copy was

mailed, via the United States Postal Service, to all non-CM/ECF participants.



                                         /s/ Michelle M. Law
                                         MICHELLE M. LAW




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